






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-333 CR


____________________



ANDRE LANDRIOS a/k/a ANDRE PAUL LANDRIO, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 91798






MEMORANDUM OPINION (1)


	Andre Landrios a/k/a Andre Paul Landrio was convicted and sentenced on an
indictment for evading detention or arrest involving use of a motor vehicle.  Landrios filed
a notice of appeal on June 15, 2004.  The trial court entered a certification of the
defendant's right to appeal in which the court certified that this is a plea-bargain case and
the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial court's
certification has been provided to the Court of Appeals by the district clerk.

	On August 4, 2004, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered September 8, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


